- Case: 1:18-cv-05866 Document #: 72 Filed: 04/05/19 Page 1 of 2 PagelD #:3606

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

LEVI STRAUSS & CO.,
Plaintiff,
Vv.
A&Z BABY STORE, et al.,

Defendants.

 

 

Case No. 18-cv-05866
Judge Charles P. Kocoras

Magistrate Judge Sidney I. Schenkier

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on December 18, 2018 [55], in

favor of Plaintiff Levi Strauss & Co. (“LS&Co.”) and against the Defendants Identified in

Schedule A in the amount of two million dollars ($2,000,000) per Defaulting Defendant for

willful use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of

products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of

an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendants:

 

 

 

 

 

 

Defendant Name Line Nos.
nishuob 157
shenzhenfuzhuangmaoyiyouxiangongsidianpu 173
spearnaily 175

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 

 
Case: 1:18-cv-05866 Document #: 72 Filed: 04/05/19 Page 2 of 2 PagelD #:3606

Dated this 5th day of April 2019.

Respectfully submitted,

“Amy C. Ziegler J

Justin R. Gaudio
RiKaleigh C. Johnson
Greer, Burns & Crain, Ltd.
300 South Wacker Drive, Suite 2500
Chicago, Illinois 60606
312.360.0080
312.360.9315 (facsimile)
aziegler@gbc.law
jgaudio@gbc.law
rjohnson@gbc.law

Counsel for Plaintiff Levi Strauss & Co.

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 5th day of April 2019.

Given under by hand and notarial seal.

CAITLIN SCHLIE
Official Seal
Notary Public - State of Illinois
My Commission Expires Nov 20, 2024

      
   

Ober Sh

Notary Public

State of Illinois
County of Cook

 
